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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
                                                                 x
VANESSA FEELEY, on behalf of herself and a class of similarly
situated individuals                                                   COMPLAINT

                                                                       JURY DEMAND

                                                  Plaintiffs,
              -against-

THE CITY OF NEW YORK; MICHAEL RUBENS
BLOOMBERG, as Former Mayor; BILL de BLASIO, as Mayor;
MARTHA H. HIRST, as Former Commissioner — Department
of Citywide Administrative Services; EDNA WELLS HANDY,
as Former Commissioner — Department of Citywide Administrative
Services; STACEY CUMBERBATCH, as Former Commissioner —
Department of Citywide Administrative Services; LISETTE
CAMILO, as Commissioner — Department of Citywide Administrative
Services; NICHOLAS SCOPPETTA, as Former Commissioner — Fire
Department City of New York; SALVATORE CASSANO, as Former
Commissioner - Fire Department City of New York; DANIEL A.
NIGRO, as Commissioner, Fire Department City of New York;
MARK ARONBERG, as Assistant Commissioner, Fleet Services
Division, Fire Department City of New York; ANDY DIAMOND, as
Executive Director, Fleet Services Division, Fire Department City of
New York; LOUIS MORBELLI, as Director, Fleet Services Division,
Fire Department City of New York; HUGH MCALLISTER, as Deputy
Director, Fleet Services Division, Fire Department City of New York
and PATRICK MURPHY, as Supervisor, Fleet Services Division, Fire
Department City of New York each sued individually and in their
official capacities as employees of Defendant THE CITY OF NEW
YORK

                                                  Defendants'
                                                                 x

       Plaintiff VANESSA FEELEY through THE SANDERS FIRM, P.C., files this federal

complaint against Defendants' THE CITY OF NEW YORK; MICHAEL RUBENS

BLOOMBERG; BILL de BLASIO; MARTHA H. HIRST; EDNA WELLS HANDY; STACEY

CUMBERBATCH; LISETTE CAMILO; NICHOLAS SCOPPETTA; SALVATORE

CASSANO; DANIEL A. NIGRO; MARK ARONBERG; ANDY DIAMOND; LOUIS
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MORBELLI; HUGH MCALLISTER and PATRICK MURPHY, respectfully set forth and allege

that:

                                    JURISDICTION AND VENUE

        1.      The jurisdiction of this Court is invoked pursuant to 18 U.S.C. § 1965, 28 U.S.C. §§

1331, 1343 and 2202 to secure protection of and to redress deprivation of rights secured by:

                a.       Title VII of the Civil Rights Act of 1964, as amended by the Pregnancy

                         Discrimination Act of 1978;

                 b.      Civil Rights Act of 1871, 42 U.S.C. § 1983;

                 c.      New York State Executive Law § 296;

                 d.      New York City Administrative Code § 8-107, as amended by the Pregnant

                         Workers Fairness Act of 2014.

        2.       The unlawful employment practices, violations of Plaintiff VANESSA FEELEY'S

civil rights complained of herein were committed within the Eastern Districts of New York.

                                 PROCEDURAL REQUIREMENTS

        3.       Plaintiff VANESSA FEELEY have filed suit with this Court within the applicable

statute of limitations period.

                ,plaintiff VANESSA FEELEY allege that on or about January 23, 2019, she filed a

Charge of Discrimination with the United States Equal Employment Opportunity Commission

(EEQC),Complaint Nos.: 520-2019-01775-,

        5.       Plaintiff VANESSA FEELEY allege that as of April 10, 2020, she has not received

a_ Notice of Right to Sue from the United States Department of Justicel

        6.       Plaintiff VANESSA FEELEY is not required to exhaust any administrative


'Although requested at the same time as the NYPD Rule 23 Class Members, she has not received the Notice of
Right to Sue from the United States of Justice but, if necessary will be added to the complaint upon receipt.

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procedures prior to suit under the Civil Rights Act of 1871, New York State Executive Law § 296

or New York City Administrative Code § 8-107.

             RULE 23 OF THE FEDERAL RULES OF CIVIL PROCEDURE

                          A.   Class Definition

       7.      Plaintiff VANESSA FEELEY seek to maintain claims individually and on behalf

of the following class:

               Nursing Mothers Class
               All female employees that have or will be employed with Defendant THE CITY
               OF NEW YORK and assigned to the Fire Department City of New York (FDNY)
               from August 15, 2007, to the date of judgment that have the need or chooses to
               express milk during work hours (the "Nursing Mothers Class").

       8.      Plaintiff VANESSA FEELEY is a member of the proposed class (collectively, the "Rule 23

Class" or the "Rule 23 Class Members").

       9.      Plaintiff VANESSA FEELEY reserve the right to amend the definitions of the

Rule 23 Class based on discovery or other legal developments.

       10.     Plaintiff VANESSA FEELEY alleges that the patterns, practices or policies

described in this federal complaint demonstrate that pregnancy discrimination is common within

the FDNY and shows that such unlawful conduct is part of its' operating patterns, practices or

policies.

                          B.   Numerosity and Impracticality of Joinder

       11.     Plaintiff VANESSA FEELEY and the Rule 23 Class, upon information and

belief, consist of more than 100, past, present and future female employees that fit within the

class. The FDNY presently employs more than 17,000 employees. The Rule 23 Class Members

are sufficiently numerous to make joinder impractical.

                          C.   Efficiency of Class Prosecution of the Rule 23 Class Claims



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       12.     Plaintiff VANESSA FEELEY alleges that certification of the proposed Rule 23

Class is the most efficient and economical means of resolving the questions of law and fact that

are common to the legal claims.

       13.     Plaintiff VANESSA FEELEY alleges that their individual claims require

resolution of the common questions concerning whether within the FDNY co-workers,

supervisors, managers and/or executives have engaged in a pattern or practice of pregnancy

discrimination against female employees.

       14.     Plaintiff VANESSA FEELEY alleges that to obtain relief for herself and the other

Rule 23 Class Members, she seeks to establish the existence of systemic unlawful pregnancy

discrimination within the FDNY.

       15.     Without certification of the Rule 23 Class, the same evidence and related legal

issues would be subject to a multitude of individual lawsuits in different forums with the

attendant risk of inconsistent adjudications and conflicting outcomes.

       16.     Plaintiff VANESSA FEELEY alleges that certification of the Rule 23 Class is the

most efficient means of presenting the evidence and arguments necessary to resolve the

underlying issues for them, the other Rule 23 Class Members, and Defendant THE CITY OF

NEW YORK (FDNY).

                      D.      Common Questions of Law and Fact

       17.     The claims alleged on behalf of the Rule 23 Class Members raise questions of

law and facts common to each of the Rule 23 Class Members. These questions include inter

alia, whether within the FDNY coworkers, supervisors, managers and/or executives:

       •       Treated nursing mothers differently from similarly situated non-nursing
               employees that resulted in unequal and adverse treatment in violation of
               federal, state and city law;



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       •       Regularly failed to make reasonable accommodations for nursing mothers
               that required medically necessary absences;
       •       Implemented discretionary, subjective protocols and treatment that
               disfavors nursing mothers, nursing mothers that require accommodations
               due to pregnancy related complications;
       •       Implemented discretionary, subjective protocols and treatment that
               disfavors nursing mothers and their need or choice to express milk during
               work hours;
       •       Implemented discretionary, subjective protocols that relate to requests for
               time off, work absences or requests not to travel made by nursing mothers;
       •       Engaged in patterns, practices and/or policies fostering and resulting in
               systemic unlawful pregnancy discrimination against female employees
               with respect to their need or choice to express milk in the workplace;
       •       Engaged in repeat systemic marginalization and indifference towards
               nursing mothers who complained about pregnancy discrimination;
       •       Regularly subjected nursing mothers to hostility, ridicule, special rules and
               strict scrutiny;
       •       Regularly subjected nursing mothers to retaliatory actions including
               denying denial of reasonable accommodations, refusing to participate in
               the cooperative dialogue surrounding an accommodation request, etc.; and
       •       Failing to investigate or remedy complaints about pregnancy
               discrimination or otherwise ignored such complaints.

       18.     Thus, the common question requirement of FRCP 23(a) is satisfied.

                       E.      Typicality of Claims and Relief Sought

       19.     Plaintiff VANESSA FEELEY is a member of the Rule 23 Class she seeks to

represent.

       20.     Plaintiff VANESSA FEELEY alleges that her claims are typical of the claims of

the Rule 23 Class in that they all arise from the same unlawful patterns, practices and/or policies

within the FDNY, and are based on the legal theory that these patterns, practices and/or policies

violate legal rights protected by federal, state and local law.

       21.     Plaintiff VANESSA FEELEY allege that she and the other Rule 23 Class

Members are each the victim of unlawful adverse employment decisions within the FDNY

because they became pregnant during their employment.


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       22.     The relief Plaintiff VANESSA FEELEY seek for the unlawful patterns, practices

and/or policies within the FDNY is typical of the relief which is sought on behalf of the Rule 23

Class Members.

       23.     Plaintiff VANESSA FEELEY alleges that the pregnancy discrimination she

experienced is typical of that experienced by the other Rule 23 Class Members.

       24.     Within the FDNY, female employees who are or have been pregnant are

subjected to a workplace culture dominated by male policymakers.

       25.     The workplace culture has affected Plaintiff VANESSA FEELEY and the other

Rule 23 Class Members in the same or similar ways.

       26.     Plaintiff VANESSA FEELEY alleges that she and the other Rule 23 Class

Members have been affected in the same or similar ways by the FDNY'S failure to investigate

claims of pregnancy discrimination and its failure to promulgate and enforce adequate

procedures designed to detect, monitor, and correct this pattern and practice of pregnancy

discrimination.

       27.     The relief necessary to remedy the legal claims of Plaintiff VANESSA FEELEY

is the same as claims of the other Rule 23 Class Members.

       28.     Plaintiff VANESSA FEELEY request individually and on behalf of the other

Rule 23 Class Members, declaratory and injunctive relief.

       29.     The request for a declaratory judgment is the same for Plaintiff VANESSA

FEELEY individually and the other Rule 23 Class Members, namely, that within the FDNY

coworkers, supervisors, managers and/or executives engaged in discretionary, subjective

protocols that disfavors female employees that require accommodations due to pregnancy related

complications or employees that will need or choose to express milk during work hours.



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       30.     The request for injunctive relief is the same for Plaintiff VANESSA FEELEY

individually and the other Rule 23 Class Members, namely, that a permanent injunction is

ordered against these discriminatory practices, as well as an order for injunctive relief that

mandates new policies and practices within the FDNY that cease such continuing pregnancy

discrimination and ensures that such complaints will no longer be ignored or marginalized.

       31.     Thus, the typicality requirement of FRCP 23(a) is satisfied.

                       F.      Adequacy of Class Representation

       32.     The interests of Plaintiff VANESSA FEELEY is the same as those of the other

Rule 23 Class Members that she seeks to represent in the instant case.

       33.     Plaintiff VANESSA FEELEY is willing and able to represent the Rule 23 Class

Members fairly and vigorously as she pursues her similar individual claims.

        34.    Plaintiff VANESSA FEELEY have retained counsel who is qualified and

experienced in handling complex employment and civil rights matters, and is able to meet the

time and fiscal demands necessary to litigate a class action of this size.

        35.    The combined interests, experience and resources of Plaintiff VANESSA

FEELEY and her counsel to competently litigate the individual and the Rule 23 Class claims

satisfy the adequacy of representation requirement of FRCP 23(a).

                       G.      Requirements of Rule 23(b)(2)

        36.     Without class certification, the same evidence and related legal issues would be

subject to re-litigation in a multitude of individual lawsuits with an attendant risk of inconsistent

adjudications and conflicting outcomes.

        37.     Specifically, evidence of the FDNY'S patterns, practices and/or policies, and the

issue of whether they are in violation of federal, state and local law would be repeatedly litigated.



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       38.     Accordingly, certification of the proposed Rule 23 Classes is the most efficient

and judicious means of presenting the evidence and legal arguments necessary to resolve such

questions for Plaintiff VANESSA FEELEY, the other Rule 23 Class Members and the FDNY.

       39.     Plaintiff VANESSA FEELEY alleges that on behalf of herself and the other Rule

23 Class Members, within the FDNY the management promulgated and enforced rules that led to

systemic patterns, practices and/or policies that are discriminatory towards pregnant female

employees and nursing mothers that need or choose to express milk during work hours.

       40.      These discriminatory acts are not sporadic or isolated, and must be addressed

through final injunctive and declaratory relief with respect to Plaintiff VANESSA FEELEY and

the other Rule 23 Class Members.

       41.      Declaratory and injunctive relief flow directly and automatically from proof of the

common questions of law and fact regarding the existence of systemic pregnancy discrimination

against the Rule 23 Class Members.

        42.     Declaratory and injunctive relief are the factual and legal predicates for Plaintiff

VANESSA FEELEY and the other Rule 23 Class Members' entitlement to monetary and non-

monetary remedies necessary to address the discriminatory conduct within the FDNY.

        43.     Accordingly, injunctive and declaratory relief is among the predominant forms of

relief sought in this case.

                        H.     Requirements of Rule 23(b)(3)

        44.     The common issues of fact and law affecting the Rule 23 Class claims, including,

but not limited to, the common issues identified in the paragraphs above, predominate over

issues affecting only Plaintiff VANESSA FEELEY'S individual claims.




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        45.     A class action is superior to other available means for the fair and efficient

adjudication of Plaintiff VANESSA FEELEY'S claims and the claims of the other Rule 23 Class

Members.

        46.      The cost of proving within the FDNY'S pattern and practice of pregnancy

discrimination makes it impractical for the Rule 23 Class Members to pursue their claims

individually.

                         I.       Requirements of Rule 23(c)(4)

        47.      In the alternative, the Court may grant partial or issue certification pursuant to

Rule 23(c)(4). Resolving common questions of fact and law would serve to materially advance

litigation for all Rule 23 Class Members.

                         SUMMARY OF THE RULE 23 CLASS CLAIMS

        48.      Plaintiff VANESSA FEELEY allege that this federal complaint is filed to

exhaust all class-based disparate treatment, class-based disparate impact, and all other class-

based claims actionable within the FDNY under federal, state, and local laws that prohibit sex

discrimination (including the Pregnancy Discrimination Act of 1978) in employment, including

Title VII of the Civil Rights Act of 1964 ("Title VII"), as amended, 42 U.S.C. §§ 2000e, et seq.

        49.      Plaintiff VANESSA FEELEY files this federal complaint on behalf of themselves

and all other Rule 23 Class Members appointed2 to the Fire Department City of New York

("FDNY") who claim that since August 15, 2007, Defendant THE CITY OF NEW YORK

through its agents Defendants' MICHAEL RUBENS BLOOMBERG; BILL de BLASIO;

MARTHA H. HIRST; EDNA WELLS HANDY; STACEY CUMBERBATCH; LISETTE

CAMILO; NICHOLAS SCOPPETTA; SALVATORE CASSANO; DANIEL A. NIGRO;



2 For the purposes of this litigation, includes all uniformed and non-uniformed female employees of the FDNY.


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MARK ARONBERG; ANDY DIAMOND; LOUIS MORBELLI; HUGH MCALLISTER and

PATRICK MURPHY and their agents have engaged in a pattern, practice and policy of failing

and refusing to provide nursing mothers with reasonable accommodations such as return to work

assignments, assignments conducive to their physical limitations, equipment changes or

modifications, assignments to ensure their legal right to express milk during work hours is protected

and a proper location to express milk.

        50.    Plaintiff VANESSA FEELEY allege that through this federal complaint she and

the other Rule 23 Class Members appointed to the FDNY, seek all injunctive, equitable, legal,

monetary, punitive, and/or other forms of relief that are available under federal, state, and local

laws that prohibit sex discrimination (including the Pregnancy Discrimination Act of 1978) in

employment, including Title VII of the Civil Rights Act of 1964 ("Title VII"), as amended, 42

U.S.C. §§ 2000e, et seq.

        51.     Plaintiff VANESSA FEELEY allege that this federal complaint intends to toll the

 Statute of Limitations for she and the other Rule 23 Class Members appointed to the FDNY who

 may have similar claims and to piggy-back on any prior charges that other individuals have filed

 challenging the same practices.

        52.     Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 Lactation, the postpartum production of milk, is a physiological process triggered by hormones.

 See generally ARTHUR C. GUYTON, TEXTBOOK OF MED. PHYSIOLOGY 1039-40 (2006) (describing

 physiological processes by which milk production occurs).

        53.     Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 Lactation is a pregnancy-related medical condition, less favorable treatment of a lactating

 employee may raise an inference of unlawful discrimination. EEOC v. Houston Funding II, Ltd.,



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717 F.3d 425 (5th Cir. 2013) (lactation is a related medical condition of pregnancy for purposes

of the PDA, and an adverse employment action motivated by the fact that a woman is lactating

clearly imposes upon women a burden that male employees need not suffer).

          54.      Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that to

continue producing an adequate milk supply and to avoid painful complications associated with

delays in expressing milk,3 a nursing mother will typically need to breastfeed or express breast

milk using a pump two or three times over the duration of an eight-hour workday.

Breaseeding, U.S. DEP'T OF HEALTH & HUMAN

SERVS., https://www.womenshealth.gov/breastfeeding.

          55.      Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

an employee must have the same freedom to address such lactation-related needs that she and her

co-workers would have to address other similarly limiting medical conditions.

          56.       Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 because only women lactate, a practice that singles out lactation or breastfeeding for less

 favorable treatment affects only women and therefore is facially sex-based.

          57.       Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that it

 would violate Title VII for the FDNY through its agents to freely permit employees to use break

 time for personal reasons except to express breast milk.

          58.       Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 since August 15, 2007, under New York State Labor Law 206-c, the FDNY is required to provide

 reasonable unpaid break time or permit an employee to use paid break time or meal time each




 3 Overcoming Breasifeeding Problems, U.S. NAT'L LIBRARY OF
 MED., http:/lwww.nlm.nih.gov/medlineplus/encv/article/002452.htm); see also, DIANE WIESSINGER, THE WOMANLY ART OF
 BREASTFEEDING 385 (8th ed. 2010)

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day to allow an employee to express breast milk for her nursing child for up to three years

following child birth.

        59.     Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

the FDNY is required to make reasonable efforts to provide a room or other location, near the

work area, where an employee can express milk in privacy.

        60.     Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 since August 15, 2007, the FDNY through its agents Defendants' MICHAEL RUBENS

BLOOMBERG; BILL de BLASIO; MARTHA H. HIRST; EDNA WELLS HANDY; STACEY

 CUMBERBATCH; LISETTE CAMILO; NICHOLAS SCOPPETTA; SALVATORE

 CASSANO and DANIEL A. NIGRO and their agents have engaged in a pattern, practice and

 policy of failing and refusing to provide nursing mothers with reasonable accommodations such as

 return to work assignments, assignments conducive to their physical limitations, equipment changes

 or modifications, assignments to ensure their legal right to express milk during work hours is

 protected and a proper location to express milk.

        61.     Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 since August 15, 2007, they have had to express milk in-front of other male and female

 employees, pump in a female bathroom, pump in the female locker room, pump in department

 vehicles, pump in other department facilities, pump in their personal vehicles, pump in

 bathrooms throughout the neighborhood, or cease to pump.

        62.     Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 since March 23, 2010, under the Patient Protection and Affordable Care Act (P.L. 111-148,

 known as the "Affordable Care Act") amended section 7 of the Fair Labor Standards Act

 ("FLSA"), the FDNY is required to provide "reasonable break time for an employee to express



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breast milk for her nursing child for 1 year after the child's birth each time such employee has

need to express the milk."

        63.     Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

since March 23, 2010, under the Affordable Care Act, the FDNY is required to provide "a place,

other than a bathroom, that is shielded from view and free from intrusion from coworkers and the

public, which may be used by an employee to express breast milk." See 29 U.S.C. 207(r).

        64.     Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

since March 23, 2010, under the Affordable Care Act, the FLSA requirement of break time for

nursing mothers to express breast milk does not preempt State Laws that provide greater

protections to employees (for example, providing compensated break time, providing break time

for exempt employees, or providing break time beyond 1 year after the child's birth).

        65.     Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 on or about October 2, 2013, Defendant THE CITY OF NEW YORK enacted Local Law 78, the

 Pregnant Workers Fairness Act, to affirmatively require employers to reasonably accommodate

"the needs of an employee for her pregnancy, childbirth, or related medical condition," without

 necessitating that the employee's limitation qualifies as a disability to be protected.

        66.     Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 under the Pregnant Workers Fairness Act of 2014, employees may request accommodations

 based on pregnancy, childbirth, or related medical condition even if their medical condition does

 not amount to a disability.

        67.     Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 under the Pregnant Workers Fairness Act of 2014, places limitations upon the FDNY'S ability to




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limit the amount of time for nursing mothers to express milk unless they can establish the time

needed presents an undue hardship.

        68.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

under the Pregnant Workers Fairness Act of 2014, the FDNY must provide a clean and private

area, other than a bathroom, and must provide a refrigerator to store breast milk in the

workplace.

        69.     Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

under the Pregnant Workers Fairness Act of 2014, it requires that the FDNY permit nursing

mothers to "express milk at their usual work station ... so long as it does not create an undue

hardship for the FDNY, regardless of whether a coworker, [supervisor, manager or executive

expresses discomfort.]"

        70.     Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 on or about November 18, 2018, Local Law No.: 185, amended the New York City

Administrative Code § 8-107, requiring the FDNY to provide: (1) a lactation room in reasonable

 proximity to such employee's work area; and (2) a refrigerator suitable for breast milk storage in

 reasonable proximity to such employee's work area.

        71.     Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 on or about November 18, 2018, Local Law No.: 186, amended the New York City

 Administrative Code § 8-107, requiring the FDNY to develop and implement a written policy

 regarding the provision of a lactation room, which shall be distributed to all employees upon

 hiring. The policy shall include a statement that employees have a right to request a lactation

 room, and identify a process by which employees may request a lactation room.




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        72.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

since August 15, 2007, the FDNY through its agents Defendants' MICHAEL RUBENS

BLOOMBERG; BILL de BLASIO; MARTHA H. HIRST; EDNA WELLS HANDY; STACEY

CUMBERBATCH; LISETTE CAMILO; NICHOLAS SCOPPETTA; SALVATORE

CASSANO and DANIEL A. NIGRO and their agents failed to protect nursing mothers'

permanent work assignments upon return from maternity leave.

        73.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege since

August 15, 2007, nursing mothers choose to take extended leaves of absence without pay to

protect their legal right to express milk because the FDNY through its agents Defendants'

MICHAEL RUBENS BLOOMBERG; BILL de BLASIO; MARTHA H. HIRST; EDNA

 WELLS HANDY; STACEY CUMBERBATCH; LISETTE CAMILO; NICHOLAS

 SCOPPETTA; SALVATORE CASSANO and DANIEL A. NIGRO and their agents does not

accommodate them negatively impacting their career opportunities and pension rights.

        74.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege since

 August 15, 2007, the FDNY through its agents Defendants' MICHAEL RUBENS

 BLOOMBERG; BILL de BLASIO; MARTHA H. HIRST; EDNA WELLS HANDY; STACEY

 CUMBERBATCH; LISETTE CAMILO; NICHOLAS SCOPPETTA; SALVATORE

 CASSANO and DANIEL A. NIGRO and their agents failed to accommodate nursing mothers

 with work assignments conducive to ensure their physical and mental ability to care for

 themselves and their children.

        75.     Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 since August 15, 2007, the FDNY through its agents Defendants' MICHAEL RUBENS

 BLOOMBERG; BILL de BLASIO; MARTHA H. HIRST; EDNA WELLS HANDY; STACEY



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CUMBERBATCH; LISETTE CAMILO; NICHOLAS SCOPPETTA; SALVATORE

CASSANO and DANIEL A. NIGRO and their agents failed to ensure nursing mothers are active

partners during the interactive process to accommodate their requests.

        76.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

since August 15, 2007, the FDNY through its agents Defendants' MICHAEL RUBENS

BLOOMBERG; BILL de BLASIO; MARTHA H. HIRST; EDNA WELLS HANDY; STACEY

CUMBERBATCH; LISETTE CAMILO; NICHOLAS SCOPPETTA; SALVATORE

CASSANO and DANIEL A. NIGRO and their agents failed to ensure the workplace is free of

hostilities, ridicule and shame from coworkers, supervisors, managers and/or executives

regarding the rights of nursing mothers.

        77.     Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 since August 15, 2007, the FDNY through its agents Defendants' MICHAEL RUBENS

 BLOOMBERG; BILL de BLASIO; MARTHA H. HIRST; EDNA WELLS HANDY; STACEY

 CUMBERBATCH; LISETTE CAMILO; NICHOLAS SCOPPETTA; SALVATORE

 CASSANO and DANIEL A. NIGRO and their agents failed to ensure the workplace is free of

 retaliatory actions such as punishment posts, changed assignments upon return from maternity

 leave, changes of assignments, meals denials, etc., thus ensuring the employee's inability to

 express milk during work hours, etc., from coworkers, supervisors, managers and executives

 regarding the rights of nursing mothers.

        78.     Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 since August 15, 2007, the FDNY through its agents Defendants' MICHAEL RUBENS

 BLOOMBERG; BILL de BLASIO; MARTHA H. HIRST; EDNA WELLS HANDY; STACEY

 CUMBERBATCH; LISETTE CAMILO; NICHOLAS SCOPPETTA; SALVATORE



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CASSANO and DANIEL A. NIGRO and their agents assigned to the FDNY Office of Equal

 Employment Opportunity fails to investigate allegations of pregnancy discrimination in the

workplace.

        79.     Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 since August 15, 2007, the FDNY through its agents Defendants' MICHAEL RUBENS

 BLOOMBERG; BILL de BLASIO; MARTHA H. HIRST; EDNA WELLS HANDY; STACEY

 CUMBERBATCH; LISETTE CAMILO; NICHOLAS SCOPPETTA; SALVATORE

 CASSANO and DANIEL A. NIGRO and their agents assigned to the FDNY Bureau of

 Investigation and Trials (BITS) fails to investigate allegations of retaliation for opposing

 pregnancy discrimination in the workplace.

        80.     Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 since August 15, 2007, the FDNY through its agents Defendants' MICHAEL RUBENS

 BLOOMBERG; BILL de BLASIO; MARTHA H. HIRST; EDNA WELLS HANDY; STACEY

 CUMBERBATCH; LISETTE CAMILO; NICHOLAS SCOPPETTA; SALVATORE

 CASSANO and DANIEL A. NIGRO and their agents assigned to the FDNY Personnel Bureau

 failed to ensure compliance with federal, state and local laws regarding the rights of nursing

 mothers rights in the workplace.

        81.     Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 since August 15, 2007, the FDNY through its agents Defendants' MICHAEL RUBENS

 BLOOMBERG; BILL de BLASIO; MARTHA H. HIRST; EDNA WELLS HANDY; STACEY

 CUMBERBATCH; LISETTE CAMILO; NICHOLAS SCOPPETTA; SALVATORE

 CASSANO and DANIEL A. NIGRO and their agents assigned to the FDNY Legal Bureau failed




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 to ensure compliance with federal, state and local laws regarding the rights of nursing mothers

 rights in the workplace.

        82.     Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 since August 15, 2007, the FDNY through its agents Defendants' MICHAEL RUBENS

 BLOOMBERG; BILL de BLASIO; MARTHA H. HIRST; EDNA WELLS HANDY; STACEY

 CUMBERBATCH; LISETTE CAMILO; NICHOLAS SCOPPETTA; SALVATORE

 CASSANO and DANIEL A. NIGRO and their agents are not in compliance with federal, state

 and local laws that protects nursing mothers legal rights in the workplace.

                                          THE PARTIES

        83.     Plaintiff VANESSA FEELEY lives in Dutchess County, New York.

                                          DEFENDANTS'

        84.     Defendant THE CITY OF NEW YORK as a municipal employer. Although

 Defendant THE CITY OF NEW YORK is the employer, for the purposes of this litigation, Plaintiff

 VANESSA FEELEY and the other Rule 23 Class Members at times will make reference to their

 assigned agency which is the FDNY.

        85.     Defendant MICHAEL RUBENS BLOOMBERG, as Former Mayor of the City of

 New York.

        86.     Defendant BILL de BLASIO, as Mayor of the City of New York.

        87.     Defendant MARTHA H. HIRST, as Former Commissioner — Department

 of Citywide Administrative Services.

        88.     Defendant EDNA WELLS HANDY, as Former Commissioner — Department of

 Citywide Administrative Services.




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         89.     Defendant STACEY CUMBERBATCH, as Former Commissioner — Department of

Citywide Administrative Services.

         90.     Defendant LISETTE CAMILO, as Commissioner — Department of Citywide

Administrative Services.

         91.     Defendant NICHOLAS SCOPPETTA, as Former Commissioner — Fire Department

City of New York.

         92.     Defendant SALVATORE CASSANO, as Former Commissioner — Fire Department

City of New York.

         93.     Defendant DANIEL A. NIGRO, as Commissioner — Fire Department City of New

York.

         94.      Defendant MARK ARONBERG, as Assistant Commissioner, Fleet Services

 Division, Fire Department City of New York.

         95.      Defendant ANDY DIAMOND, as Executive Director, Fleet Services Division, Fire

 Department City of New York.

         96.      Defendant LOUIS MORBELLI, as Director, Fleet Services Division, Fire

 Department City of New York.

         97.      Defendant HUGH MCALLISTER, as Deputy Director, Fleet Services Division, Fire

 Department City of New York.

         98.      Defendant PATRICK MURPHY, as Supervisor, Fleet Services Division, Fire

 Department City of New York.

 PREGNANCY DISCRIMINATION ACT4

         PDA Coverage


 4 Also, the same or similar analysis applies under New York State Executive Law § 296 and Pregnant Workers

 Fairness Act (PWFA).

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        99.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

the Pregnancy Discrimination Act (PDA) is an amendment to Title VII of the Civil Rights Act of

1964.

        100.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

under the PDA, discrimination based on pregnancy, childbirth, or related medical conditions

constitutes unlawful sex discrimination in violation of Title VII.

        101.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

under the PDA, women affected by pregnancy or related conditions must be treated in the same

manner as other applicants or employees who are similar in their ability or inability to work.

        Discrimination Based on Lactation and Breastfeeding

        102.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 Lactation, the postpartum production of milk, is a physiological process triggered by hormones.

See generally ARTHUR C. GUYTON, TEXTBOOK OF MED. PHYSIOLOGY 1039-40 (2006) (describing

 physiological processes by which milk production occurs).

        103.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 Lactation is a pregnancy-related medical condition, less favorable treatment of a lactating

 employee may raise an inference of unlawful discrimination. EEOC v. Houston Funding II, Ltd.,

 717 F.3d 425 (5th Cir. 2013) (lactation is a related medical condition of pregnancy for purposes

 of the PDA, and an adverse employment action motivated by the fact that a woman is lactating

 clearly imposes upon women a burden that male employees need not suffer).

        104.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that to

 continue producing an adequate milk supply and to avoid painful complications associated with




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delays in expressing milk,5 a nursing mother will typically need to breastfeed or express breast

milk using a pump two or three times over the duration of an eight-hour workday.

Breastfeeding, U.S. DEP'T OF HEALTH & HUMAN

 SERVS., https://www.womenshealth.gov/breastfeeding.

          105.      Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 an employee must have the same freedom to address such lactation-related needs that she and her

 co-workers would have to address other similarly limiting medical conditions.

          106.      Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 because only women lactate, a practice that singles out lactation or breastfeeding for less

 favorable treatment affects only women and therefore is facially sex-based.

          107.      Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that it

 would violate Title VII for Defendant THE CITY OF NEW YORK through its agents

 Defendants' MICHAEL RUBENS BLOOMBERG; BILL de BLASIO; MARTHA H. HIRST;

 EDNA WELLS HANDY; STACEY CUMBERBATCH; LISETTE CAMILO; NICHOLAS

 SCOPPETTA; SALVATORE CASSANO and DANIEL A. NIGRO and their agents to freely

 permit employees to use break time for personal reasons except to express breast milk.

 EVALUATING PDA-COVERED FDNY EMPLOYMENT DECISIONS6

          Disparate Treatment

          108.      Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 since August 15, 2007, the FDNY through its agents Defendants' MICHAEL RUBENS

 BLOOMBERG; BILL de BLASIO; MARTHA H. HIRST; EDNA WELLS HANDY; STACEY


 5 Overcoming Breastfeeding Problems, U.S. NAT'L LIBRARY OF
 MED., http://www.n1m.nih.ciov/medlineplus/encv/article/002452.htm); see also, DIANE WIESSINGER, THE WOMANLY ART OF
 BREASTFEEDING 385 (8th ed. 2010)
 6 Also, the same or similar analysis applies under New York State Executive Law § 296 and Pregnant Workers
 Fairness Act (PWFA).

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CUMBERBATCH; LISETTE CAMILO; NICHOLAS SCOPPETTA; SALVATORE

CASSANO and DANIEL A. NIGRO and their agents have engaged in a pattern, practice and

policy of failing and refusing to provide nursing mothers with reasonable accommodations such as

return to work assignments, assignments conducive to their physical limitations, equipment changes

 or modifications, assignments to ensure their legal right to express milk during work hours is

 protected and a proper location to express milk.

         109.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 since August 15, 2007, the FDNY as an employer is required but, does not inform nursing mothers

 of their legal rights such as their right to take unpaid leave for pumping breast milk by placing a

 public poster in the workplace, promulgate a policy within the FDNY or notifying the individual

 female employees in writing.

         110.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 since August 15, 2007, the FDNY as an employer, is required but does not inform nursing mothers

 that they may take break time to pump breast milk at work for up to three years following the birth

 of her child.

         111.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 since August 15, 2007, the FDNY as an employer, is required but does not inform nursing mothers

 they are entitled to at least 20 minutes for each break.

         112.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 since August 15, 2007, the FDNY as an employer, is required but does not inform nursing mothers

 that they may take shorter breaks if they chose.




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        113.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

since August 15, 2007, the FDNY as an employer, is required but does not inform nursing mothers

that they must be allowed more time if they need it.

        114.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

since August 15, 2007, the FDNY as an employer, is required but does not allow nursing mothers

to take breaks at least once every three hours to pump breast milk.

        115.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

since August 15, 2007, the FDNY as an employer, is required but does not inform nursing mothers

that they may take these breaks right before or after their regularly scheduled paid break or meal

periods.

        116.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

since August 15, 2007, the FDNY as an employer, is required but does not inform nursing mothers

that if they take breaks to pump breast milk, it cannot deduct that time from her regular paid break

or meal time.

        117.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 since August 15, 2007, the FDNY as an employer, is required but does not inform nursing mothers

 they are entitled to work before or after their normal shifts to make up for the break time they take

 to pump breast milk, as long as that time falls within the employer's normal work hours.

         118.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 since August 15, 2007, the FDNY as an employer, is required but does not inform nursing mothers

 they have the option of using their regular paid break or meal time to pump breast milk, but they are

 not required to do so.




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          119.   Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

since August 15, 2007, the FDNY as an employer, is required but does not inform nursing mothers

it is required to provide employees with a private room or other location close to the employee's

work area where they can pump breast milk, unless it would be extremely difficult for it to do so.

          120.   Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 since August 15, 2007, the FDNY as an employer, is required but does not inform nursing mothers

 if it cannot provide a dedicated lactation room, a temporarily vacant room may be used instead.

          121.   Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 since August 15, 2007, the FDNY as an employer, is required but does not inform nursing mothers

 as a last resort, a cubicle can be used, but it must be fully enclosed with walls at least seven feet tall.

          122.   Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 since August 15, 2007, the FDNY as an employer, is required but does not inform nursing mothers

 the room or location provided by an employer to pump breast milk cannot be a restroom or toilet

 stall.

          123.   Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 since August 15, 2007, the FDNY as an employer, is required but does not inform nursing mothers

 that the place where employees pump breast milk must contain a chair and small table or other flat

 surface.

          124.   Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 since August 15, 2007, the FDNY as an employer, is required but does not inform nursing mothers

 that New York State Department of Labor encourages employers to provide, in addition, an

 electrical outlet, clean water supply, and access to a refrigerator where nursing mothers can store

 pumped milk.



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          125.   Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

since August 15, 2007, the FDNY as an employer, is required but does not inform nursing mothers

that the room or place provided by the employer cannot be open to other employees, customers, or

members of the public while an employee is pumping breast milk.

          126.   Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

since August 15, 2007, the FDNY as an employer, is required but does not inform nursing mothers

it should have a door with a functional lock, or in the case of a cubicle, a sign warning the location

 is in use and not accessible to others.

          127.   Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 since August 15, 2007, the FDNY as an employer, is required but does not inform nursing mothers

 that employers may not discriminate or retaliate in any way against any employee who chooses to

 pump breast milk in the workplace or who files a complaint with the New York State Department of

 Labor.

          128.   Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 since August 15, 2007, the FDNY as an employer, is required but does not inform nursing mothers

 that any party may file a confidential complaint with the United States Equal Employment

 Opportunity Commission, United States Department of Labor and/or the New York State

 Department of Labor's Division of Labor Standards, New York State Division of Human Rights or

 New York City Commission on Human Rights alleging non-compliance with the law.

          129.   Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 since March 23, 2010, under the Patient Protection and Affordable Care Act (P.L. 111-148,

 known as the "Affordable Care Act") amended section 7 of the Fair Labor Standards Act

 ("FLSA"), the FDNY is required to provide "reasonable break time for an employee to express



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breast milk for her nursing child for 1 year after the child's birth each time such employee has

need to express the milk."

        130.   Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

since March 23, 2010, under the Affordable Care Act, the FDNY is required to provide "a place,

other than a bathroom, that is shielded from view and free from intrusion from coworkers and the

public, which may be used by an employee to express breast milk." See 29 U.S.C. 207(r).

        131.   Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

since March 23, 2010, under the Affordable Care Act, the FLSA requirement of break time for

nursing mothers to express breast milk does not preempt State Laws that provide greater

protections to employees (for example, providing compensated break time, providing break time

for exempt employees, or providing break time beyond 1 year after the child's birth).

        132.   Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 since August 15, 2007, Defendant THE CITY OF NEW YORK through its agents Defendants'

 MICHAEL RUBENS BLOOMBERG; BILL de BLASIO; MARTHA H. HIRST; EDNA

 WELLS HANDY; STACEY CUMBERBATCH; LISETTE CAMILO; NICHOLAS

 SCOPPETTA; SALVATORE CASSANO and DANIEL A. NIGRO and their agents have failed

 to promulgate a written policy and distribute it department-wide through the FDNY Intranet

 titled: Leave to Express Milk.

        133.    Plaintiff VANESSA FEELY alleges that since August 15, 2007, Defendant THE

 CITY OF NEW YORK through its agents Defendants' MICHAEL RUBENS BLOOMBERG;

 BILL de BLASIO; MARTHA H. HIRST; EDNA WELLS HANDY; STACEY

 CUMBERBATCH; LISETTE CAMILO; NICHOLAS SCOPPETTA; SALVATORE




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CASSANO; and DANIEL A. NIGRO and their agents instead have implemented an unwritten

policy department-wide addressing a nursing mother's right to express milk.

          134.   Plaintiff VANESSA FEELEY alleges that employer policies that do not facially

discriminate based on pregnancy may nonetheless violate this provision of the PDA where they

impose significant burdens on pregnant employees that cannot be supported by a sufficiently

strong justification. See Young v. United Parcel Serv., Inc., --- U.S. ---, 135 S.Ct. 1338, 1354-55

(2015).

          135.   Plaintiff VANESSA FEELEY alleges that Defendant THE CITY OF NEW

YORK through its agents Defendants' MICHAEL RUBENS BLOOMBERG; BILL de BLASIO;

MARTHA H. HIRST; EDNA WELLS HANDY; STACEY CUMBERBATCH; LISETTE

 CAMILO; NICHOLAS SCOPPETTA; SALVATORE CASSANO; and DANIEL A. NIGRO

 requires "all employees are eligible to request an accommodation for time and a private space to

 express breast milk."

          136.   Plaintiff VANESSA FEELEY alleges that Defendant THE CITY OF NEW

 YORK through its agents Defendants' MICHAEL RUBENS BLOOMBERG; BILL de BLASIO;

 MARTHA H. HIRST; EDNA WELLS HANDY; STACEY CUMBERBATCH; LISETTE

 CAMILO; NICHOLAS SCOPPETTA; SALVATORE CASSANO; and DANIEL A. NIGRO

 DO NOT require male and female employees who are not nursing mothers to 'formally' request

 an 'accommodation' to take personals while on job time.

          137.   Plaintiff VANESSA FEELEY alleges that Defendant THE CITY OF NEW

 YORK through its agents Defendants' MICHAEL RUBENS BLOOMBERG; BILL de BLASIO;

 MARTHA H. HIRST; EDNA WELLS HANDY; STACEY CUMBERBATCH; LISETTE

 CAMILO; NICHOLAS SCOPPETTA; SALVATORE CASSANO; and DANIEL A. NIGRO



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DO NOT require male and female employees who are not nursing mothers to account for the

 `necessity' to take a 'personal' while on job time.

          138.       Plaintiff VANESSA FEELEY alleges that since August 15, 2007, Defendant THE

 CITY OF NEW YORK through its agents Defendants' MICHAEL RUBENS BLOOMBERG;

 BILL de BLASIO; MARTHA H. HIRST; EDNA WELLS HANDY; STACEY

 CUMBERBATCH; LISETTE CAMILO; NICHOLAS SCOPPETTA; SALVATORE

 CASSANO; and DANIEL A. NIGRO and their agents are not in compliance under federal, state

 and local laws that protects nursing mothers with reasonable break times and a proper location to

 express milk.

           Hostile Work Environment

           139.      Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 under the PDA, an employer must provide a work environment free of harassment based on

 pregnancy, childbirth, or related medical conditions.

           140.      Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 an employer's failure to do so violates the statute.

           141.      Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 liability can result from the conduct of a supervisor, coworkers, or non-employees such as

 customers or business partners over whom the employer has some control.?

           142.      Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 as nursing mothers reasonable accommodations they are routinely denied favorable return to work

 assignments, assignments conducive to their physical limitations, equipment changes or


 ' For more detailed guidance on what constitutes unlawful harassment and when employers can be held liable for unlawful
 harassment, see EEOC Enforcement Guidance: Vicarious Employer Liability for Unlawful Harassment by Supervisors (June 18,
 1999), available at http://www.eeoc.qov/policy/docs/harassment.htrn1; Enforcement Guidance on Harris v. Forklift Sys., Inc. (Mar, 8,
 1994), available at http://www.eeoc.aov/policy/dots/harris.html• EEOC Policy Guidance on Current Issues of Sexual
 Harassment (Mar. 19,1990), available at http://www.eeoc.clov/policy/docs/currentissues.html; 29 C.F.R. § 1604.11.

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modifications, assignments to ensure their legal right to express milk during work hours is protected

and a proper location to express milk.

        143.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

as nursing mothers their coworkers, supervisors, managers and/or executives subjected them to

jeers, sarcastic comments, ostracization, ridicule, extra supervision, extra burdens to document

and prove their personal breaks, etc.

        144.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

their coworkers, supervisors, managers and/or executives subjected them to this harassment

because of their statuses as nursing mothers.

        145.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

the harassment caused them to experience severe engorgement, Mastitis, emotional distress,

 postpartum depressions, cessation of their milk supply and other related medical conditions.

        Retaliation

        146.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 since August 15, 2007, the FDNY through its agents Defendants' MICHAEL RUBENS

 BLOOMBERG; BILL de BLASIO; MARTHA H. HIRST; EDNA WELLS HANDY; STACEY

 CUMBERBATCH; LISETTE CAMILO; NICHOLAS SCOPPETTA; SALVATORE

 CASSANO; and DANIEL A. NIGRO and their agents (coworkers, supervisors, managers and/or

 executives) assigned or caused assignments of nursing mothers to punishment assignments,

 meals denials, etc., designed to quiet them, resign and/or frustrate their ability to enforce their

 legal rights in the workplace.

 INDIVIDUAL CLAIMS

        Plaintiff VANESSA FEELEY



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        147.   Plaintiff VANESSA FEELEY alleges that on or about September 8, 2013, she

was hired by Defendant THE CITY OF NEW YORK and assigned to the Fire Department City

of New York Fleet Services Division as an Auto Service Worker.

        148.   Plaintiff VANESSA FEELEY alleges that prior to her assignment, she was

 certified to troubleshoot and repair passenger vehicles and trucks manufactured by the Ford

Motor Company.

        149.   Plaintiff VANESSA FEELEY alleges that Defendant THE CITY OF NEW

 YORK claimed through the Fire Department City of New York Fleet Services Division, she was

 unable to qualify as an Auto Mechanic because she did not possess the requisite training,

 education and experience.

        150.    Plaintiff VANESSA FEELEY alleges that after several years of troubleshooting

 and repairing ambulances for the Fire Department City of New York Fleet Services Division, in

 or around Spring 2016, she received a provisional appointment to the position of Auto Mechanic.

        151.    Plaintiff VANESSA FEELEY alleges that since September 8, 2013, she is treated

 less favorably than her male co-workers.

        152.    Plaintiff VANESSA FEELEY alleges that since September 8, 2013, she is the

 only female mechanic troubleshooting and repairing ambulances, pumpers, other vehicles and

 associated equipment for the Fire Department City of New York Fleet Services Division.

        153.    Plaintiff VANESSA FEELEY alleges that since September 8, 2013, often she

 would be isolated to troubleshoot and repair ambulances on her own although the job

 specification required two persons to safely perform the assignment.

        154.    Plaintiff VANESSA FEELEY alleges that after several years of troubleshooting

 and repairing ambulances, pumpers, other vehicles and associated equipment for the Fire



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Department City of New York Fleet Services Division, on or about October 29, 2017, she

received a civil service appointment to the position of Auto Mechanic.

          155.   Plaintiff VANESSA FEELEY alleges that in or around Early 2018, while

pregnant, she requested Defendant THE CITY OF NEW YORK through. MARK ARONBERG

 to explain the policy about requesting maternity leave.

          156.   Plaintiff VANESSA FEELEY alleges that Defendant THE CITY OF NEW

 YORK through MARK ARONBERG told her that there was no policy regarding maternity

 leave.

          157.   Plaintiff VANESSA FEELEY alleges that unsatisfied with such an answer, she

 called Human Resources and had a conversation with Ms. Deborah Poe.

          158.   Plaintiff VANESSA FEELEY alleges that Ms. Poe confirmed there was no policy

 regarding maternity leave.

          159.   Plaintiff VANESSA FEELEY alleges that a review of the Fire Department City of

 New York's Employee Manual and Intranet confirmed there was no policy regarding maternity

 leave.

          160.   Plaintiff VANESSA FEELEY alleges that on or about April 27, 2018, she went

 on maternity leave using the Family Medical Leave Act (FMLA) because they have no maternity

 leave policy.

          161.   Plaintiff VANESSA FEELEY alleges that on or about July 23, 2018, she returned

 to the Fleet Services Division as an Auto Mechanic.

          162.   Plaintiff VANESSA FEELEY alleges that while assigned to the Fleet Services

 Division, since July 23, 2018, Defendant THE CITY OF NEW YORK through its agents BILL

 de BLASIO; LISETTE CAMILO; DANIEL A. NIGRO; MARK ARONBERG; ANDY



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DIAMOND; HUGH MCALLISTER and PATRICK MURPHY have failed and refused to

provide her and other similarly situated female employees who are nursing mothers with a proper

location to express milk she has experienced severe engorgement, Mastitis, Emotional Distress and

cessation of her milk supply.

         163.   Plaintiff VANESSA FEELEY alleges that while assigned to the Fleet Services

Division since July 23, 2018, Defendant THE CITY OF NEW YORK through its agents

 Defendants' BILL de BLASIO; LISETTE CAMILO; DANIEL A. NIGRO; MARK

ARONBERG; ANDY DIAMOND; LOUIS MORBELLI; HUGH MCALLISTER and PATRICK

 MURPHY has failed and refused to provide her and other similarly situated female employees who

 are nursing mothers with a proper location to express milk.

         164.   Plaintiff VANESSA FEELEY alleges that while assigned to the Fleet Services

 Division since July 23, 2018, Defendant THE CITY OF NEW YORK through its agents

 Defendants' BILL de BLASIO; LISETTE CAMILO; DANIEL A. NIGRO; MARK

 ARONBERG; ANDY DIAMOND; LOUIS MORBELLI; HUGH MCALLISTER and PATRICK

 MURPHY has failed and refused to provide her and other similarly situated female employees who

 are nursing mothers with a proper location to express milk she has to pump in a female bathroom.

         165.   Plaintiff VANESSA FEELEY alleges that while assigned to the Fleet Services

 Division since July 23, 2018, Defendant THE CITY OF NEW YORK through its agents

 Defendants' BILL de BLASIO; LISETTE CAMILO; DANIEL A. NIGRO; MARK

 ARONBERG; ANDY DIAMOND; LOUIS MORBELLI; HUGH MCALLISTER and PATRICK

 MURPHY has failed and refused to provide her and other similarly situated female employees who

 are nursing mothers with a proper location to express milk she has to pump in a the female locker

 room.




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        166.     Plaintiff VANESSA FEELEY alleges that while assigned to the Fleet Services

Division since July 23, 2018, Defendant THE CITY OF NEW YORK through its agents

Defendants' BILL de BLASIO; LISETTE CAMILO; DANIEL A. NIGRO; MARK

ARONBERG; ANDY DIAMOND; LOUIS MORBELLI; HUGH MCALLISTER and PATRICK

MURPHY has failed and refused to provide her and other similarly situated female employees who

are nursing mothers with a proper location to express milk she has to express milk in other

 department facilities.

         167.    Plaintiff VANESSA FEELEY alleges that while assigned to the Fleet Services

 Division since July 23, 2018, Defendant THE CITY OF NEW YORK through its agents

 Defendants' BILL de BLASIO; LISETTE CAMILO; DANIEL A. NIGRO; MARK

 ARONBERG; ANDY DIAMOND; LOUIS MORBELLI; HUGH MCALLISTER and PATRICK

 MURPHY has failed and refused to provide her and other similarly situated female employees who

 are nursing mothers with a proper location to express milk she has to store the expressed milk in an

 office refrigerator.

         168.    Plaintiff VANESSA FEELEY alleges that while assigned to the Fleet Services

 Division since July 23, 2018, Defendant THE CITY OF NEW YORK through its agents

 Defendants' DANIEL A. NIGRO; MARK ARONBERG; ANDY DIAMOND; LOUIS

 MORBELLI; HUGH MCALLISTER and PATRICK MURPHY often isolated her to

 troubleshoot and repair ambulances, pumpers, other vehicles and associated equipment on her

 own although the job specification required two persons to safely perform the assignment.

         169.    Plaintiff VANESSA FEELEY alleges that while assigned to the Fleet Services

 Division since July 23, 2018, Defendant THE CITY OF NEW YORK through its agents

 Defendants' DANIEL A. NIGRO; MARK ARONBERG; ANDY DIAMOND; LOUIS



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MORBELLI; HUGH MCALLISTER and PATRICK MURPHY then constantly monitored her

for completion, meanwhile her male co-workers are not treated in such manner.

        170.   Plaintiff VANESSA FEELEY alleges that while assigned to the Fleet Services

Division since July 23, 2018, Defendant THE CITY OF NEW YORK through its agents

Defendants' DANIEL A. NIGRO; MARK ARONBERG; ANDY DIAMOND; LOUIS

MORBELLI; HUGH MCALLISTER and PATRICK MURPHY would pressure her to work

overtime, meanwhile her male co-workers are not treated in such manner.

        171.   Plaintiff VANESSA FEELEY alleges that while assigned to the Fleet Services

Division since July 23, 2018, Defendant THE CITY OF NEW YORK through its agents

Defendants' DANIEL A. NIGRO; MARK ARONBERG; ANDY DIAMOND; LOUIS

MORBELLI; HUGH MCALLISTER and PATRICK MURPHY whenever she rejected overtime

 due to childcare responsibilities, PATRICK MURPHY would reply "Why can't you put that

 (breast milk) in a bottle and send it home with your husband?"

        172.   Plaintiff VANESSA FEELEY alleges that while assigned to the Fleet Services

 Division since July 23, 2018, Defendant THE CITY OF NEW YORK through its agents

 Defendants' DANIEL A. NIGRO; MARK ARONBERG; ANDY DIAMOND; LOUIS

 MORBELLI; HUGH MCALLISTER and PATRICK MURPHY whenever she requested an

 accommodation to express milk, PATRICK MURPHY would reply "You can't do that anytime

 you want?"

        173.    Plaintiff VANESSA FEELEY alleges that while assigned to the Fleet Services

 Division since July 23, 2018, Defendant THE CITY OF NEW YORK through its agents

 Defendants' DANIEL A. NIGRO; MARK ARONBERG; ANDY DIAMOND; LOUIS

 MORBELLI; HUGH MCALLISTER and PATRICK MURPHY often times when she needed



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time off to take her minor children for physician visits, PATRICK MURPHY would comment

"Why can't your husband take them to the doctor?"

        174.   Plaintiff VANESSA FEELEY alleges that while assigned to the Fleet Services

Division on or about September 4, 2018, while using Deputy Director of Administrative Services

Victor Holdordf s unused office to express milk, Defendant MARK ARONBERG barged into

the office and interrupted her.

        175.   Plaintiff VANESSA FEELEY alleges that Defendant MARK ARONBERG never

apologized for interrupting her.

        176.   Plaintiff VANESSA FEELEY alleges that while assigned to the Fleet Services

 Division on or about September 14, 2018, Defendant THE CITY OF NEW YORK through its

 agent Defendant ANDY DIAMOND told her that she had to complete a schedule for approval to

 express milk and must clock in an out of City Time. Meanwhile, her co-workers do not have to

 complete a schedule for approvals to take personal breaks or clock in and out of City Time.

        177.   Plaintiff VANESSA FEELEY alleges that while assigned to the Fleet Services

 Division on or about September 18, 2018, Defendant THE CITY OF NEW YORK through its

 agent Defendant LOUIS MORBELLI told her that she had to complete a schedule for approval

 to express milk and must clock in an out of City Time. Meanwhile, her co-workers do not have

 to complete a schedule for approvals to take personal breaks or clock in and out of City Time.

        178.    Plaintiff VANESSA FEELEY alleges that while assigned to the Fleet Services

 Division on or about October 1, 2018, Defendant THE CITY OF NEW YORK through its agent

 Defendant PATRICK MURPHY told her that she had to complete a schedule for approval to

 express milk and must clock in an out of City Time. Meanwhile, her co-workers do not have to

 complete a schedule for approvals to take personal breaks or clock in and out of City Time.



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        179.    Plaintiff VANESSA FEELEY alleges that Defendant THE CITY OF NEW

YORK through its agent Defendant PATRICK MURPHY warned, "If you continue to decline to

sign out of City Time, you will have an issue." Meanwhile, her co-workers do not have to

 complete a schedule for approvals to take personal breaks or clock in and out of City Time.

        180.    Plaintiff VANESSA FEELEY alleges that from October 1, 2018, through

December 14, 2018, to comply with Defendant THE CITY OF NEW YORK through its agents

 Defendants' DANIEL A. NIGRO; MARK ARONBERG; ANDY DIAMOND; LOUIS

 MORBELLI; HUGH MCALLISTER and PATRICK MURPHY'S directive, often times with the

 breast pump apparatus still attached to her breasts, she would be forced to parade in front of her

 male and female co-workers as she tried to clock to out of City Time.

        181.    Plaintiff VANESSA FEELEY alleges that when she was unable to do so, she had

to find a computer to clock in and out. Meanwhile, her co-workers do not have to complete a

 schedule for approvals to take personal breaks or clock in and out of City Time.

        182.    Plaintiff VANESSA FEELEY alleges that while assigned to the Fleet Services

 Division on or about November 7, 2018, Defendant THE CITY OF NEW YORK through its

 agents Defendants' DANIEL A. NIGRO; MARK ARONBERG; ANDY DIAMOND; LOUIS

 MORBELLI; HUGH MCALLISTER and PATRICK MURPHY ordered her to troubleshoot and

 repair soon to be condemned FSP03045.

        183.    Plaintiff VANESSA FEELEY alleges that FSP03045, was scheduled for

 condemnation since 2015, and Defendant THE CITY OF NEW YORK through its agents

 Defendants' DANIEL A. NIGRO; MARK ARONBERG; ANDY DIAMOND; LOUIS

 MORBELLI; HUGH MCALLISTER and PATRICK MURPHY ordered her to troubleshoot and

 repair the truck as a form of harassment.



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        184.   Plaintiff VANESSA FEELEY alleges that from on or about November 7, 2018,

through November 15, 2018, Defendant THE CITY OF NEW YORK through its agents

Defendants' DANIEL A. NIGRO; MARK ARONBERG; ANDY DIAMOND; LOUIS

MORBELLI; HUGH MCALLISTER and PATRICK MURPHY ordered her to troubleshoot and

repair condemned FSP03045 as a form of harassment.

        185.   Plaintiff VANESSA FEELEY alleges that whenever her male co-workers tried to

assist her Defendant THE CITY OF NEW YORK through its agents Defendants' DANIEL A.

NIGRO; MARK ARONBERG; ANDY DIAMOND; LOUIS MORBELLI; HUGH

MCALLISTER and PATRICK MURPHY reassigned them to ensure she alone would

troubleshoot and repair condemned FSP03045 as a form of harassment.

        186.   Plaintiff VANESSA FEELEY alleges that while assigned to the Fleet Services

Division on or about November 15, 2018, Defendant THE CITY OF NEW YORK through its

agents Defendants' DANIEL A. NIGRO; MARK ARONBERG; ANDY DIAMOND; LOUIS

MORBELLI; HUGH MCALLISTER and PATRICK MURPHY ordered her to troubleshoot and

repair FKP15005 as a form of harassment.

        187.   Plaintiff VANESSA FEELEY alleges that whenever her male co-workers tried to

assist her Defendant THE CITY OF NEW YORK through its agents Defendants' DANIEL A.

NIGRO; MARK ARONBERG; ANDY DIAMOND; LOUIS MORBELLI; HUGH

MCALLISTER and PATRICK MURPHY reassigned them to ensure she alone would

 troubleshoot and repair condemned FKP15005 as a form of harassment.

        188.   Plaintiff VANESSA FEELEY alleges that while assigned to the Fleet Services

 Division on or about December 14, 2018, the day she was approved for a long-term child-care

 leave of absence, Defendant THE CITY OF NEW YORK through its agents Defendants'



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DANIEL A. NIGRO; MARK ARONBERG; ANDY DIAMOND; LOUIS MORBELLI; HUGH

MCALLISTER and PATRICK MURPHY presented her with a Performance Evaluation.

        189.    Plaintiff VANESSA FEELEY alleges that Defendant THE CITY OF NEW

YORK through its agents Defendants' DANIEL A. NIGRO; MARK ARONBERG; ANDY

DIAMOND; LOUIS MORBELLI; HUGH MCALLISTER and PATRICK MURPHY claimed

 she is rated below standards because she "works too slowly" and "fails to meet department

 standards."

        190.    Plaintiff VANESSA FEELEY alleges that Defendant THE CITY OF NEW

 YORK through its agents Defendants' DANIEL A. NIGRO; MARK ARONBERG; ANDY

 DIAMOND; LOUIS MORBELLI; HUGH MCALLISTER and PATRICK MURPHY constantly

 monitored her, gave her difficult assignments and rated her below standards because she

 complained about her treatment in the workplace and for failing to accommodate her legal right

 as a nursing mother to express milk.

        191.    Plaintiff VANESSA FEELEY alleges that throughout the aforementioned time

 period, Defendants' DANIEL A. NIGRO; MARK ARONBERG; ANDY DIAMOND; LOUIS

 MORBELLI; HUGH MCALLISTER and PATRICK MURPHY failed and refused to provide her

 with reasonable accommodations such as assignments conducive to her physical limitations,

 equipment changes or modifications, assignments to ensure her legal right to express milk during

 work hours is protected and a proper location to express milk.

        192.    Plaintiff VANESSA FEELEY alleges that on or about October 26, 2019, while

 out on long-term child-care leave of absence, she resigned.




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                           VIOLATIONS AND CLAIMS ALLEGED

                                       COUNT I
                           PREGNANCY DISCRIMINATION
                                  IN VIOLATION OF
                     TITLE VII OF THE CIVIL RIGHTS ACT OF 1964

        193.    PlaintiffVANESSA FEELEY and the other Rule 23 Class Members re-alleges Paragraphs 1

through 192 and incorporates them by reference as Paragraphs 1 through 192 of Count I of this

 Complaint.

        194.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 Defendant THE CITY OF NEW YORK through its agents engaged in a pattern and practice of

 pregnancy discrimination against them with respect to the terms, conditions and privileges of

 employment because of their gender.

        195.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 Defendant THE CITY OF NEW YORK knew or should have known about pregnancy

 discrimination in the workplace because of their prior history of discriminatory conduct.

        196.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 the discriminatory acts of Defendant THE CITY OF NEW YORK caused them to suffer

 depression and anxiety.

        197.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 Defendant THE CITY OF NEW YORK acted in an outrageous and systematic pattern of

 oppression, bad faith and cover-up, from in or around August 15, 2007, to this day.

        198.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 the acts of Defendant THE CITY OF NEW YORK under color of law caused them to experience

 severe engorgement, Mastitis, emotional distress, postpartum depressions, cessation of their milk

 supply and other related medical conditions, incur significant legal costs, damage to their

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personal and professional reputation.

                                       COUNT II
                           HOSTILE WORK ENVIRONMENT
                                   IN VIOLATION OF
                      TITLE VII OF THE CIVIL RIGHTS ACT OF 1964

        199.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members re-alleges

Paragraphs 1 through 198 and incorporates them by reference as Paragraphs 1 through 198 of

Count II of this Complaint.

        200.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

Defendant THE CITY OF NEW YORK through its agents engaged in various cruel and hostile

actions towards them with respect to the terms, conditions and privileges of employment because

 of their gender.

        201.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 the cruel and hostile acts of Defendant THE CITY OF NEW YORK through its agents under

 color of law caused them to experience severe engorgement, Mastitis, emotional distress,

 postpartum depressions, cessation of their milk supply and other related medical conditions,

 incur significant legal costs, damage to their personal and professional reputation.

                                       COUNT III
                                     RETALIATION
                                   IN VIOLATION OF
                      TITLE VII OF THE CIVIL RIGHTS ACT OF 1964

        202.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members re-alleges Paragraphs 1

 through 201 and incorporates them by reference as Paragraphs 1 through 201 of Count III of this

 Complaint.

         203.   Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 Defendant THE CITY OF NEW YORK through its agents engaged in various retaliatory actions



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against them for opposing pregnancy discrimination and filing such complaints with its agents,

the FDNY Office of Equal Employment Opportunity and the EEOC.

        204.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

as a result of the illegal acts of Defendant THE CITY OF NEW YORK through its agents under

color of law caused them to experience severe engorgement, Mastitis, emotional distress,

postpartum depressions, cessation of their milk supply and other related medical conditions,

 incur significant legal costs, damage to their personal and professional reputation.

                                      COUNT IV
                           PREGNANCY DISCRIMINATION
                                  IN VIOLATION OF
                     THE CIVIL RIGHTS ACT OF 1871, 42 U.S.C. § 1983

        205.    PlaintiffVANESSA FEELEY and the other Rule 23 Class Members re-alleges Paragraphs 1

 through 204 and them by reference as Paragraphs 1 through 204 of Count IV of this Complaint.

        Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 Defendants' MICHAEL RUBENS BLOOMBERG; BILL de BLASIO; MARTHA H. HIRST;

 EDNA WELLS HANDY; STACEY CUMBERBATCH; LISETTE CAMILO; NICHOLAS

 SCOPPETTA; SALVATORE CASSANO; DANIEL A. NIGRO; MARK ARONBERG; ANDY

 DIAMOND; LOUIS MORBELLI; HUGH MCALLISTER and PATRICK MURPHY

 intentionally engaged in an outrageous and systematic pattern of pregnancy discrimination,

 oppression, bad faith and cover-up, directed at them from in or around August 15, 2007, to this

 day.

        206.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 Defendants' MICHAEL RUBENS BLOOMBERG; BILL de BLASIO; MARTHA H. HIRST;

 EDNA WELLS HANDY; STACEY CUMBERBATCH; LISETTE CAMILO; NICHOLAS

 SCOPPETTA; SALVATORE CASSANO; DANIEL A. NIGRO; MARK ARONBERG; ANDY


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DIAMOND; LOUIS MORBELLI; HUGH MCALLISTER and PATRICK MURPHY acting

individually and in their official capacities as a public officials of Defendant THE CITY OF

NEW YORK under color of law, and having been fully advised that they are being deprived of

their constitutional rights, either acted in a concerted, malicious intentional pattern to further

discriminate against them, or knowing such pregnancy discrimination was taking place,

knowingly omitted to act to protect them.

        207.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

Defendants' MICHAEL RUBENS BLOOMBERG; BILL de BLASIO; MARTHA H. HIRST;

 EDNA WELLS HANDY; STACEY CUMBERBATCH; LISETTE CAMILO; NICHOLAS

SCOPPETTA; SALVATORE CASSANO; DANIEL A. NIGRO; MARK ARONBERG; ANDY

DIAMOND; LOUIS MORBELLI; HUGH MCALLISTER and PATRICK MURPHY under

color of law caused them to experience severe engorgement, Mastitis, emotional distress,

postpartum depressions, cessation of their milk supply and other related medical conditions,

 incur significant legal costs, damage to their personal and professional reputation.

                                      COUNT V
                           HOSTILE WORK ENVIRONMENT
                                  IN VIOLATION OF
                     THE CIVIL RIGHTS ACT OF 1871, 42 U.S.C. § 1983

        208.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members re-alleges

 Paragraphs 1 through 207 and incorporates them by reference as Paragraphs 1 through 207 of

 Count V of this Complaint.

        209.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 Defendants' MICHAEL RUBENS BLOOMBERG; BILL de BLASIO; MARTHA H. HIRST;

 EDNA WELLS HANDY; STACEY CUMBERBATCH; LISETTE CAMILO; NICHOLAS

 SCOPPETTA; SALVATORE CASSANO; DANIEL A. NIGRO; MARK ARONBERG; ANDY

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DIAMOND; LOUIS MORBELLI; HUGH MCALLISTER and PATRICK MURPHY

intentionally engaged in an outrageous and systematic pattern of pregnancy discrimination,

hostility, oppression, bad faith and cover-up, directed at them with respect to the terms,

 conditions and privileges of employment because of their gender.

        210.     Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

Defendants' MICHAEL RUBENS BLOOMBERG; BILL de BLASIO; MARTHA H. HIRST;

 EDNA WELLS HANDY; STACEY CUMBERBATCH; LISETTE CAMILO; NICHOLAS

 SCOPPETTA; SALVATORE CASSANO; DANIEL A. NIGRO; MARK ARONBERG; ANDY

 DIAMOND; LOUIS MORBELLI; HUGH MCALLISTER and PATRICK MURPHY acting

 individually and in their official capacities as a public officials of Defendant THE CITY OF

NEW YORK under color of law, and having been fully advised that they are being deprived of

 their constitutional rights, either acted. in a concerted, malicious intentional pattern to further

 discriminate against them, or knowing such pregnancy discrimination was taking place,

 knowingly omitted to act to protect them.

         211.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 Defendants' MICHAEL RUBENS BLOOMBERG; BILL de BLASIO; MARTHA H. HIRST;

 EDNA WELLS HANDY; STACEY CUMBERBATCH; LISETTE CAMILO; NICHOLAS

 SCOPPETTA; SALVATORE CASSANO; DANIEL A. NIGRO; MARK ARONBERG; ANDY

 DIAMOND; LOUIS MORBELLI; HUGH MCALLISTER and PATRICK MURPHY under

 color of law caused them to experience severe engorgement, Mastitis, emotional distress,

 postpartum depressions, cessation of their milk supply and other related medical conditions,

 incur significant legal costs, damage to their personal and professional reputation.




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                                       COUNT VI
                                     RETALIATION
                                   IN VIOLATION OF
                      THE CIVIL RIGHTS ACT OF 1871, 42 U.S.C. § 1983

        212.    PlaintiffVANESSA khELEY and the other Rule 23 Class Members re-alleges Paragraphs 1

through 211 and incorporates them by reference as Paragraphs 1 through 211 of Count VI of this

Complaint.

        213.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 Defendants' MICHAEL RUBENS BLOOMBERG; BILL de BLASIO; MARTHA H. HIRST;

 EDNA WELLS HANDY; STACEY CUMBERBATCH; LISETTE CAMILO; NICHOLAS

 SCOPPETTA; SALVATORE CASSANO; DANIEL A. NIGRO; MARK ARONBERG; ANDY

 DIAMOND; LOUIS MORBELLI; HUGH MCALLISTER and PATRICK MURPHY

 intentionally engaged in an outrageous and systematic pattern of pregnancy discrimination,

 hostility, oppression, bad faith and cover-up, directed at them from in or around August 15,

 2007, to this day.

        214.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that

 Defendants' MICHAEL RUBENS BLOOMBERG; BILL de BLASIO; MARTHA H. HIRST;

 EDNA WELLS HANDY; STACEY CUMBERBATCH; LISETTE CAMILO; NICHOLAS

 SCOPPETTA; SALVATORE CASSANO; DANIEL A. NIGRO; MARK ARONBERG; ANDY

 DIAMOND; LOUIS MORBELLI; HUGH MCALLISTER and PATRICK MURPHY acting

 individually and in their official capacities as a public officials of Defendant THE CITY OF

 NEW YORK under color of law, and having been fully advised that they are being deprived of

 their constitutional rights, either acted in a concerted, malicious intentional pattern to retaliate

 against them for opposing pregnancy discrimination and filing such complaints with its agents,

 the FDNY Office of Equal Employment Opportunity and the EEOC.

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        215.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members allege that Defendants'

MICHAEL RUBENS BLOOMBERG; BILL de BLASIO; MARTHA H. HIRST; EDNA

WELLS HANDY; STACEY CUMBERBATCH; LISETTE CAMILO; NICHOLAS

SCOPPETTA; SALVATORE CASSANO; DANIEL A. NIGRO; MARK ARONBERG; ANDY

DIAMOND; LOUIS MORBELLI; HUGH MCALLISTER and PATRICK MURPHY under

color of law caused them to experience severe engorgement, Mastitis, emotional distress,

postpartum depressions, cessation of their milk supply and other related medical conditions,

incur significant legal costs, damage to their personal and professional reputation.

                                      COUNT VII
                                   MONELL CLAIM
                                  IN VIOLATION OF
                     THE CIVIL RIGHTS ACT OF 1871, 42 U.S.C. § 1983

        216.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members re-alleges

 Paragraphs 1 through 215 and incorporates them by reference as Paragraphs 1 through 215 of

 Count VII of this Complaint.

        217.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members alleges that

 Defendant THE CITY OF NEW YORK through its agents caused their injuries.

        218.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members alleges that

 Defendant THE CITY OF NEW YORK actions of implementing 'official and un-official'

 policies of supporting pregnancy discrimination and related claims under color of law.

        219.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members alleges that

 Defendant THE CITY OF NEW YORK through its agents deprived them of their constitutional

 and statutory rights.

        220.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members alleges that

 Defendant THE CITY OF NEW YORK through its agents caused them to experience severe

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engorgement, Mastitis, emotional distress, postpartum depressions, cessation of their milk supply

and other related medical conditions, incur significant legal costs, damage to their personal and

professional reputation.

                                    COUNT VIII
                           PREGNANCY DISCRIMINATION
                                 IN VIOLATION OF
                        NEW YORK STATE EXECUTIVE LAW § 296

        221.   Plaintiff VANESSA FEELEY and the other Rule 23 Class Members re-alleges

Paragraphs 1 through 220 and incorporates them by reference as Paragraphs 1 through 220 of

 Count VIII of this Complaint.

        222.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members alleges that

New York State Executive Law § 296, makes it unlawful to discriminate against any individual

 in the terms, conditions, or privileges of employment because of their gender.

        223.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members alleges that

 Defendants' THE CITY OF NEW YORK; MICHAEL RUBENS BLOOMBERG; BILL de

 BLASIO; MARTHA H. HIRST; EDNA WELLS HANDY; STACEY CUMBERBATCH;

 LISETTE CAMILO; NICHOLAS SCOPPETTA; SALVATORE CASSANO; DANIEL A.

 NIGRO; MARK ARONBERG; ANDY DIAMOND; LOUIS MORBELLI; HUGH

 MCALLISTER and PATRICK MURPHY discriminated against them because of their gender.

        224.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members alleges that

 as a direct and proximate result of the unlawful employment practices of Defendants' THE CITY

 OF NEW YORK; MICHAEL RUBENS BLOOMBERG; BILL de BLASIO; MARTHA H.

 HIRST; EDNA WELLS HANDY; STACEY CUMBERBATCH; LISETTE CAMILO;

 NICHOLAS SCOPPETTA; SALVATORE CASSANO; DANIEL A. NIGRO; MARK

 ARONBERG; ANDY DIAMOND; LOUIS MORBELLI; HUGH MCALLISTER and PATRICK


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MURPHY, they suffered the indignity of pregnancy discrimination and great humiliation.

        225.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members alleges that

Defendants' THE CITY OF NEW YORK; MICHAEL RUBENS BLOOMBERG; BILL de

 BLASIO; MARTHA H. HIRST; EDNA WELLS HANDY; STACEY CUMBERBATCH;

 LISETTE CAMILO; NICHOLAS SCOPPETTA; SALVATORE CASSANO; DANIEL A.

NIGRO; MARK ARONBERG; ANDY DIAMOND; LOUIS MORBELLI; HUGH

MCALLISTER and PATRICK MURPHY'S violations caused them to experience severe

 engorgement, Mastitis, emotional distress, postpartum depressions, cessation of their milk supply

 and other related medical conditions, incur significant legal costs, damage to their personal and

 professional reputation.

                                     COUNT IX
                           HOSTILE WORK ENVIRONMENT
                                 IN VIOLATION OF
                        NEW YORK STATE EXECUTIVE LAW § 296

        226.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members re-alleges

 Paragraphs 1 through 225 and incorporates them by reference as Paragraphs 1 through 225 of

 Count IX of this Complaint.

        227.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members alleges that

 New York State Executive Law § 296, makes it unlawful to discriminate against any individual

 in the terms, conditions, or privileges of employment because of their gender.

        228.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members alleges that

 the law also makes it unlawful to create an atmosphere where hostilities are encouraged and/or

'tolerated.

        229.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members alleges that

 Defendants' THE CITY OF NEW YORK; MICHAEL RUBENS BLOOMBERG; BILL de

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 BLASIO; MARTHA H. HIRST; EDNA WELLS HANDY; STACEY CUMBERBATCH;

 LISETTE CAMILO; NICHOLAS SCOPPETTA; SALVATORE CASSANO; DANIEL A.

NIGRO; MARK ARONBERG; ANDY DIAMOND; LOUIS MORBELLI; HUGH

 MCALLISTER and PATRICK MURPHY engaged in various hostile actions against them based

 upon their gender.

        230.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members alleges that

as a direct and proximate result of the unlawful employment practices of Defendants' THE CITY

 OF NEW YORK; MICHAEL RUBENS BLOOMBERG; BILL de BLASIO; MARTHA H.

 HIRST; EDNA WELLS HANDY; STACEY CUMBERBATCH; LISETTE CAMILO;

 NICHOLAS SCOPPETTA; SALVATORE CASSANO; DANIEL A. NIGRO; MARK

 ARONBERG; ANDY DIAMOND; LOUIS MORBELLI; HUGH MCALLISTER and PATRICK

 MURPHY, they suffered the indignity of pregnancy discrimination.

        231.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members alleges that

 Defendants' THE CITY OF NEW YORK; MICHAEL RUBENS BLOOMBERG; BILL de

 BLASIO; MARTHA H. HIRST; EDNA WELLS HANDY; STACEY CUMBERBATCH;

 LISETTE CAMILO; NICHOLAS SCOPPETTA; SALVATORE CASSANO; DANIEL A.

 NIGRO; MARK ARONBERG; ANDY DIAMOND; LOUIS MORBELLI; HUGH

 MCALLISTER and PATRICK MURPHY'S violations caused them to experience severe

 engorgement, Mastitis, emotional distress, postpartum depressions, cessation of their milk supply

 and other related medical conditions, incur significant legal costs, damage to their personal and

 professional reputation.

                                     COUNT X
                                   RETALIATION
                                 IN VIOLATION OF
                        NEW YORK STATE EXECUTIVE LAW § 296


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        232.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members re-alleges Paragraphs 1

through 231 and incorporates them by reference as Paragraphs 1 through 231 of Count X of this

Complaint.

        233.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members alleges that

New York State Executive Law § 296, makes it unlawful to discriminate against any individual

in the terms, conditions, or privileges of employment because of their gender.

        234.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members alleges that

 the law also makes it unlawful to create an atmosphere where retaliation is encouraged and/or

 tolerated.

        235.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members alleges that

 Defendants' THE CITY OF NEW YORK; MICHAEL RUBENS BLOOMBERG; BILL de

 BLASIO; MARTHA H. HIRST; EDNA WELLS HANDY; STACEY CUMBERBATCH;

 LISETTE CAMILO; NICHOLAS SCOPPETTA; SALVATORE CASSANO; DANIEL A.

 NIGRO; MARK ARONBERG; ANDY DIAMOND; LOUIS MORBELLI; HUGH

 MCALLISTER and PATRICK MURPHY engaged in various retaliatory actions against them for

 opposing pregnancy discrimination and filing such complaints with its agents, the FDNY Office

 of Equal Employment Opportunity and the EEOC.

         236.   Plaintiff VANESSA FEELEY and the other Rule 23 Class Members alleges that

 as a direct and proximate result of the unlawful employment practices of Defendants' THE CITY

 OF NEW YORK; MICHAEL RUBENS BLOOMBERG; BILL de BLASIO; MARTHA H.

 HIRST; EDNA WELLS HANDY; STACEY CUMBERBATCH; LISETTE CAMILO;

 NICHOLAS SCOPPETTA; SALVATORE CASSANO; DANIEL A. NIGRO; MARK

 ARONBERG; ANDY DIAMOND; LOUIS MORBELLI; HUGH MCALLISTER and PATRICK

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 MURPHY, they suffered the indignity of pregnancy discrimination and great humiliation.

        237.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members alleges that

 Defendants' THE CITY OF NEW YORK; MICHAEL RUBENS BLOOMBERG; BILL de

 BLASIO; MARTHA H. HIRST; EDNA WELLS HANDY; STACEY CUMBERBATCH;

 LISE 1'1'h CAMILO; NICHOLAS SCOPPETTA; SALVATORE CASSANO; DANIEL A.

NIGRO; MARK ARONBERG; ANDY DIAMOND; LOUIS MORBELLI; HUGH

 MCALLISTER and PATRICK MURPHY'S violations caused them to experience severe

 engorgement, Mastitis, emotional distress, postpartum depressions, cessation of their milk supply

 and other related medical conditions, incur significant legal costs, damage to their personal and

 professional reputation.

                                   COUNT XI
                         PREGNANCY DISCRIMINATION
                               IN VIOLATION OF
                   NEW YORK CITY ADMINISTRATIVE CODE § 8-107

        238.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members re-alleges Paragraphs 1

 through 237 and incorporates them by reference as Paragraphs 1 through 237 of Count XI of this

 Complaint.

        239.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members alleges that

 New York City Administrative Code § 8-107, makes it unlawful to discriminate against any

 individual in the terms, conditions, or privileges of employment because of their gender.

        240.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members alleges that

 Defendants' THE CITY OF NEW YORK; MICHAEL RUBENS BLOOMBERG; BILL de

 BLASIO; MARTHA H. HIRST; EDNA WELLS HANDY; STACEY CUMBERBATCH;

 LISETTE CAMILO; NICHOLAS SCOPPETTA; SALVATORE CASSANO; DANIEL A.

 NIGRO; MARK ARONBERG; ANDY DIAMOND; LOUIS MORBELLI; HUGH


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MCALLISTER and PATRICK MURPHY discriminated against them because of their gender.

        241.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members alleges that

as a direct and proximate result of the unlawful employment practices of Defendants' THE CITY

OF NEW YORK; MICHAEL RUBENS BLOOMBERG; BILL de BLASIO; MARTHA H.

HIRST; EDNA WELLS HANDY; STACEY CUMBERBATCH; LISETTE CAMILO;

NICHOLAS SCOPPETTA; SALVATORE CASSANO; DANIEL A. NIGRO; MARK

ARONBERG; ANDY DIAMOND; LOUIS MORBELLI; HUGH MCALLISTER and PATRICK

MURPHY, they suffered the indignity of pregnancy discrimination and great humiliation.

        242.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members alleges that

 Defendants' THE CITY OF NEW YORK; MICHAEL RUBENS BLOOMBERG; BILL de

 BLASIO; MARTHA H. HIRST; EDNA WELLS HANDY; STACEY CUMBERBATCH;

 LISETTE CAMILO; NICHOLAS SCOPPETTA; SALVATORE CASSANO; DANIEL A.

 NIGRO; MARK ARONBERG; ANDY DIAMOND; LOUIS MORBELLI; HUGH

 MCALLISTER and PATRICK MURPHY'S violations caused them to experience severe

 engorgement, Mastitis, emotional distress, postpartum depressions, cessation of their milk supply

 and other related medical conditions, incur significant legal costs, damage to their personal and

 professional reputation.

                                    COUNT XII
                          HOSTILE WORK ENVIRONMENT
                                IN VIOLATION OF
                    NEW YORK CITY ADMINISTRATIVE CODE § 8-107

        243.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members re-alleges

 Paragraphs 1 through 242 and incorporates them by reference as Paragraphs 1 through 242 of

 Count XII of this Complaint.

        244.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members alleges that

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New York City Administrative Code § 8-107, makes it unlawful to discriminate against any

individual in the terms, conditions, or privileges of employment because of their gender.

       245.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members alleges that

the law also makes it unlawful to create an atmosphere where hostilities are encouraged and/or

tolerated.

       246.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members alleges that

Defendants' THE CITY OF NEW YORK; MICHAEL RUBENS BLOOMBERG; BILL de

BLASIO; MARTHA H. HIRST; EDNA WELLS HANDY; STACEY CUMBERBATCH;

LISETTE CAMILO; NICHOLAS SCOPPETTA; SALVATORE CASSANO; DANIEL A.

NIGRO; MARK ARONBERG; ANDY DIAMOND; LOUIS MORBELLI; HUGH

MCALLISTER and PATRICK MURPHY engaged in various hostile actions against them based

upon their gender.

        247.   Plaintiff VANESSA FEELEY and the other Rule 23 Class Members alleges that

as a direct and proximate result of the unlawful employment practices of Defendants' THE CITY

 OF NEW YORK; MICHAEL RUBENS BLOOMBERG; BILL de BLASIO; MARTHA H.

 HIRST; EDNA WELLS HANDY; STACEY CUMBERBATCH; LISETTE CAMILO;

 NICHOLAS SCOPPETTA; SALVATORE CASSANO; DANIEL A. NIGRO; MARK

 ARONBERG; ANDY DIAMOND; LOUIS MORBELLI; HUGH MCALLISTER and PATRICK

 MURPHY, they suffered the indignity of pregnancy discrimination.

        248.   Plaintiff VANESSA FEELEY and the other Rule 23 Class Members alleges that

 Defendants' THE CITY OF NEW YORK; MICHAEL RUBENS BLOOMBERG; BILL de

 BLASIO; MARTHA H. HIRST; EDNA WELLS HANDY; STACEY CUMBERBATCH;

 LISETTE CAMILO; NICHOLAS SCOPPETTA; SALVATORE CASSANO; DANIEL A.



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NIGRO; MARK ARONBERG; ANDY DIAMOND; LOUIS MORBELLI; HUGH

MCALLISTER and PATRICK MURPHY'S violations caused them to experience severe

 engorgement, Mastitis, emotional distress, postpartum depressions, cessation of their milk supply

 and other related medical conditions, incur significant legal costs, damage to their personal and

 professional reputation.

                                   COUNT XIII
                                  RETALIATION
                                IN VIOLATION OF
                    NEW YORK CITY ADMINISTRATIVE CODE § 8-107

        249.    PlaintiffVANESSA FEELEY and the other Rule 23 Class Members re-alleges Paragraphs 1

 through 248 and incorporates them by reference as Paragraphs 1 through 248 of Count XIII of

 this Complaint.

        250.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members alleges that

 New York City Administrative Code § 8-107, makes it unlawful to discriminate against any

 individual in the terms, conditions, or privileges of employment because of their gender.

        251.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members alleges that

 the law also makes it unlawful to create an atmosphere where retaliation is encouraged and/or

 tolerated.

        252.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members alleges that

 Defendants' THE CITY OF NEW YORK; MICHAEL RUBENS BLOOMBERG; BILL de

 BLASIO; MARTHA H. HIRST; EDNA WELLS HANDY; STACEY CUMBERBATCH;

 LISETTE CAMILO; NICHOLAS SCOPPETTA; SALVATORE CASSANO; DANIEL A.

 NIGRO; MARK ARONBERG; ANDY DIAMOND; LOUIS MORBELLI; HUGH

 MCALLISTER and PATRICK MURPHY engaged in various retaliatory actions against them for

 opposing pregnancy discrimination and filing such complaints with its agents, the FDNY Office


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of Equal Employment Opportunity and the EEOC.

        253.     Plaintiff VANESSA FEELEY and the other Rule 23 Class Members alleges that

as a direct and proximate result of the unlawful employment practices of Defendants' THE CITY

 OF NEW YORK; MICHAEL RUBENS BLOOMBERG; BILL de BLASIO; MARTHA H.

 HIRST; EDNA WELLS HANDY; STACEY CUMBERBATCH; LISETTE CAMILO;

NICHOLAS SCOPPETTA; SALVATORE CASSANO; DANIEL A. NIGRO; MARK

 ARONBERG; ANDY DIAMOND; LOUIS MORBELLI; HUGH MCALLISTER and PATRICK

 MURPHY, they suffered the indignity of pregnancy discrimination and great humiliation.

         254.    Plaintiff VANESSA FEELEY and the other Rule 23 Class Members alleges that

 Defendants' THE CITY OF NEW YORK; MICHAEL RUBENS BLOOMBERG; BILL de

 BLASIO; MARTHA H. HIRST; EDNA WELLS HANDY; STACEY CUMBERBATCH;

 LISETTE CAMILO; NICHOLAS SCOPPETTA; SALVATORE CASSANO; DANIEL A.

 NIGRO; MARK ARONBERG; ANDY DIAMOND; LOUIS MORBELLI; HUGH

 MCALLISTER and PATRICK MURPHY'S violations caused them to experience severe

 engorgement, Mastitis, emotional distress, postpartum depressions, cessation of their milk supply

 and other related medical conditions, incur significant legal costs, damage to their personal and

 professional reputation.

                                                 JURY TRIAL

         255.    PlaintiffVANESSA FEELEY and the other Rule 23 Class Members demands atrial by jury of

 all issues in this action that are so triable

                                       PRAYER FOR RELIEF

         WHEREFORE, Plaintiff VANESSA FEELEY and the other Rule 23 Class Members

 pray that the Court enter an Order of Judgment in their favor and against Defendants' THE CITY



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OF NEW YORK; MICHAEL RUBENS BLOOMBERG; BILL de BLASIO; MARTHA H.

HIRST; EDNA WELLS HANDY; STACEY CUMBERBATCH; LISETTE CAMILO;

NICHOLAS SCOPPETTA; SALVATORE CASSANO; DANIEL A. NIGRO; MARK

ARONBERG; ANDY DIAMOND; LOUIS MORBELLI; HUGH MCALLISTER and PATRICK

MURPHY, containing the following relief:

        A.      An ORDER finding that the FDNY'S policies and practices violate Title VII of

the Civil Rights Act of 1964, New York State Executive Law § 296 and New York City

Administrative Code § 8-107, and enjoining Defendants' THE CITY OF NEW YORK;

 MICHAEL RUBENS BLOOMBERG; BILL de BLASIO; MARTHA H. HIRST; EDNA WELLS

 HANDY; STACEY CUMBERBATCH; LISETTE CAMILO; NICHOLAS SCOPPETTA;

 SALVATORE CASSANO; DANIEL A. NIGRO; MARK ARONBERG; ANDY DIAMOND;

 LOUIS MORBELLI; HUGH MCALLISTER and PATRICK MURPHY and their agents from

 further implementation and enforcement of their reasonable accommodation policies regarding

 disabilities, pregnancy and expressing milk until such policies are re-written consistent with

 prevailing law and final approval of the United States Department of Justice, United States Equal

 Employment Opportunity Commission, New York State Division of Human Rights and the New

 York City Commission on Human Rights;

        B.      An award of compensatory damages against Defendants' THECITYOFNEWYORK;

 MICHAEL RUBENS BLOOMBERG; BILL de BLASIO; MARTHA H. HIRST; EDNA WELLS

 HANDY; STACEY CUMBERBATCH; LISETTE CAMILO; NICHOLAS SCOPPETTA;

 SALVATORE CASSANO; DANIEL A. NIGRO; MARK ARONBERG; ANDY DIAMOND;

 LOUIS MORBELLI; HUGH MCALLISTER and PATRICK MURPHY, jointly or severally in

 an amount to be determined at trial, plus prejudgment interest, to compensate Plaintiff



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VANESSA FEELEY and the other Rule 23 Class Members for all monetary and/or economic

damages, including, but not limited to, severe engorgement, Mastitis, emotional distress,

postpartum depressions, cessation of their milk supply and other related medical conditions, legal

costs, damage to their personal and professional reputation and other benefits of employment;

        C.      An award of punitive damages against Defendants' THE CITY OF NEW YORK; MICHAEL

RUBENS BLOOMBERG; BILL de BLASIO; MARTHA H. HIRST; EDNA WELLS HANDY;

 STACEY CUMBERBATCH; LISETTE CAMILO; NICHOLAS SCOPPETTA; SALVATORE

 CASSANO; DANIEL A. NIGRO; MARK ARONBERG; ANDY DIAMOND; LOUIS

 MORBELLI; HUGH MCALLISTER and PATRICK MURPHY, jointly or severally in an

 amount to be determined at trial, plus prejudgment interest, to compensate Plaintiff VANESSA

 FEELEY and the other Rule 23 Class Members for all monetary and/or economic damages,

 including, but not limited to, severe engorgement, Mastitis, emotional distress, postpartum

 depressions, cessation of their milk supply and other related medical conditions, legal costs,

 damage to their personal and professional reputation and other benefits of employment;

        D.      An award of costs that Plaintiff VANESSA FEELEY and the other Rule 23 Class

 Members have incurred in this action, including, but not limited to, expert witness fees,

 `reasonable' attorneys' fees and costs to the fullest extent permitted by law; and,

        E.      Such other and further relief as the Court may deem just and proper.




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 Dated: April 10, 2020
        New York, NY
                                    Respectfully sulnitted,

                                    By:
                                           Eric Sanders (ES0224)

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